                                                EXHIBIT A: Unclaimed Debtor Returns on Closed Cases
                                                      Office of Tom Vaughn Chapter 13 Trustee
Count Case No.     Debtor                  Claimant                        Amount         Explanation
01)   09 B 16144   Gonzales, Jose Mejia    Jose Mejia Gonzales                    $40.64 Checks issued to debtor not presented within 90 days
                                           2108 S 56th Ct #2
                                           Cicero IL 60804


02)   09 B 44722   Lampkin, Janice         Janice Lampkin                          $2.95 Check issued to debtor not presented within 90 days
                                           14757 Langley Ave
                                           Dolton IL 60419


03)   10 B 15078   Adams, Keisha N         Keisha N Adams                          $2.52 Check issued to debtor not presented within 90 days
                                           8129 S Ingleside #1W
                                           Chicago IL 60619


04)   10 B 16486   Stewart, Cleatus Dale   Cleatus Dale Stewart                   $11.87 Check issued to debtor not presented within 90 days
                                           Valerie Stewart
                                           18251 Oakwood Ave
                                           Lansing IL 60438


05)   10 B 36607   Dean, Douglas           Douglas Dean                            $2.86 Check issued to debtor not presented within 90 days
                                           12541 S Quinn
                                           Alsip IL 60803


06)   10 B 42208   Wyzykowski, Frank       Frank Wyzykowski                        $3.62 Check issued to debtor not presented within 90 days
                                           Sharon Wyzykowski
                                           6449 N Nashville Ave
                                           Chicago IL 60631


07)   10 B 53583   Perry, Sharisse         Sharisse Perry                          $3.00 Check issued to debtor not presented within 90 days
                                           1379 Dahlgren Ln
                                           Minooka IL 60447




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                                                EXHIBIT A: Unclaimed Creditor Returns on Closed Cases
                                                       Office of Tom Vaughn Chapter 13 Trustee
08)   11 B 01185   Scott, Vicky S          Vicky S Scott                              $11.71 Check issued to debtor not presented within 90 days
                                           1318 S Sawyer #3C
                                           Chicago IL 60623


09)   11 B 17524   Ladson, Anthony         Anthony Ladson                              $5.16 Check issued to debtor not presented within 90 days
                                           5040 S Woodlawn #1N
                                           Chicago IL 60615


10)   11 B 41130   Chromy, James A         James A Chromy                              $1.06 Check issued to debtor not presented within 90 days
                                           Georgina Tejada Chromy
                                           1257 Maple Ln
                                           Elk Grove Village IL 60007


11)   12 B 09424   Thurman, Eugene         Eugene Thurman                        $2,600.00 Checks issued to debtor not presented within 90 days
                                           4138 W Cermak Ave #2
                                           Chicago IL 60623


12)   12 B 21582   Perdichizzi, Robert A   Robert A Perdichizzi                   $116.20 Checks issued to debtor not presented within 90 days
                                           Perlita E Perdichizzi
                                           1527 Bradfox Lane
                                           North Las Vegas NV 89032


13)   13 B 25140   Grafreed, Kendior E     Kendior E Grafreed                     $501.00 Checks issued to debtor not presented within 90 days
                                           962 Cambridge Ave
                                           Chicago IL 60610


14)   13 B 28402   Swindle, Darryl N       Darryl N Swindle                           $40.73 Checks issued to debtor not presented within 90 days
                                           1430 E 69th St #3S
                                           Chicago IL 60637




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                                                    EXHIBIT A: Unclaimed Creditor Returns on Closed Cases
                                                           Office of Tom Vaughn Chapter 13 Trustee
15)   12 B 25353   Springfield, Shanice L      Shanice L Springfield                   $323.08 Checks issued to debtor not presented within 90 days
                                               7750 S Hermitage #1
                                               Chicago IL 60620


16)   12 B 40315   Lockett, Barbara J          Barbara J Lockett                           $5.26 Check issued to debtor not presented within 90 days
                                               302 W 151st PL
                                               Harvey IL 60426


17)   12 B 38944   Williams, Carl Crawford H   Carl Crawford H Williams                $243.70 Checks issued to debtor not presented within 90 days
                                               1200 Carol St #A
                                               Park Ridge IL 60068


18)   12 B 39903   Curtis, Dorene Edna         Dorene Edna Curtis                          $1.75 Check issued to debtor not presented within 90 days
                                               17221 Park Ln
                                               Country Club Hills IL 60478


19)   13 B 12324   Binion, Richard K           Richard K Binion                        $207.69 Checks issued to debtor not presented within 90 days
                                               6140 S Throop 2nd FL
                                               Chicago IL 60636


20)   13 B 36221   Hancock III, William R      William R Hancock III                       $7.40 Check issued to debtor not presented within 90 days
                                               Rebecca C Spees
                                               213 Tanglewood Dr
                                               Elk Grove Village IL 60007




                                                                                      $4,132.20




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